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                                            August 10, 2012



RE :    Charles C. Kretek v. Board of Commissioners of Luna County, New Mexico, et al
        Case No: CV 2011-00156



                                              Introduction


        I am a board-certified emergency department physician with substantial experience in sudden

cardiac arrest and sudden cardiac death, including my service as the Medical Director of the American

Heart Association Training Center at the University of California, San Diego Center for Resuscitation

Science for the past four years. I am also an independent researcher on the effects of TASER®

electronic control devices (ECDs) on humans, and I am knowledgeable of the state of medical and

scientific research on ECDs. I am also a qualified expert in the area of Excited Delirium Syndrome

(ExDS): I have been on multiple expert and consensus panels and have published multiple peer-

reviewed papers on this topic. I have been retained as an expert to review relevant materials and

provide expert opinion on this matter, and to consider and render expert opinion on the cause of Mr.

Christopher Aparicio’s death. After careful review, it is my opinion to a reasonable degree of medical

certainty that Mr. Aparicio’s cardiac arrest was not caused by the TASER X26 ECD, the use of OC

spray or the restraining process by the officers, but rather from methamphetamine induced ExDS.

These opinions and related opinions are set forth in the expert report.



                                          Materials Reviewed
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I have reviewed extensive materials specifically pertaining to the above referenced case. This
includes, but is not limited to:


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                                      Case-Specific Materials


       1)     Expert Report by Wener Spitz, M.D.
       2)     Expert Report of William Patterson III
       3)     Expert Report of Richard Kiekbusch
       4)     Medical Records from Mimbres Memorial Hospital
       5)     Medical Records from Mountain View Regional Medical Center
       6)     State of New Mexico Incident Report dated 3/17/11
       7)     State of New Mexico Incident Supplemental Report dated 3/30/11
       8)     State of New Mexico Incident Supplemental Report dated 3/31/11
       9)     Attachments from State of New Mexico Incident Supplemental Reports
       10)    State of New Mexico Incident Supplemental Report dated 5/12/11
       11)    Deposition of Sylvia Baeza
       12)    Deposition of Michael Loya
       13)    Deposition of Javier Gallegos
       14)    Deposition of Jessica Quintana
       15)    Deposition of Josh Elford
       16)    Deposition of Kathryn Villa
       17)    Videos from the jail
       18)    State of New Mexico Corrections Department Probation and Parole Division Records



Overview of Opinions (all opinions within this report are to a reasonable degree of medical or
scientific certainty and probability):

In brief, my opinions are as follows with more description of each below:

   1. Mr. Aparicio did not suffer from positional asphyxia nor did the restraint have any contributing
      component to his demise.

   2. The weight force on the back did not cause or contribute to Mr. Aparicio’s death.




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   3. The use of the TASER ECD did not contribute to the death of Mr. Aparicio.

   4. The use of the OC spray did not contribute to the death of Mr. Apraricio.

   5. The cause of death was cardiac arrest secondary to methamphetamine associated excited
      delirium syndrome. Cardiomegaly and a prolonged QTc interval are also contributing factors.


                                               Analysis


       After reviewing the above listed materials, the records reflect that Mr. Christopher Aparicio

was taken into custody on 3/3/11, and then was taken to Mimbres Memorial Hospital at approximately

21:24 to be cleared for booking. After he was cleared, he was then taken to Luna County Detention

Facility (LCDF). He was 24 years old, weighed 194 lbs and was 70 inches tall. He was reported as

acting bizarre and paranoid, and kept repeating questions like “Why am I in here for?” when he was

getting his mug shot taken. He was banging his head on the cage, punching the cage, kicking the cage.

When officers attempted to gain control of him, he became aggressive with the officers and then he

received a 5-second TASER ECD activation that reportedly was not effective. A second five-second

activation and a third 3-second activation were also reported as not effective. He also received

exposure to OC spray and then pushed and moved multiple officers across the room before being

taken to the ground. He was eventually secured with handcuffs behind his back in a prone position,

but as he kept kicking, his legs were then shackled.

       He was then assessed by the medical officer who noted him to be breathing and with a radial

pulse. Initially, Mr. Aparicio was not responding to questions, so an ammonia inhalant was used.

After that, the medical officer reported that he became more responsive and was talking, saying “no”

to any asked questions. Thus, he was awake, but not demonstrating orientation, and EMS was called

to transport. EMS arrived and found Mr. Aparicio with his airway patent, a strong radial pulse and

pupils equal but sluggish. Then he was placed onto a gurney, wheeled out of the detention facility and

was loaded into the back of the ambulance. Then suddenly he went into cardiac arrest when he lost his



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pulse and stopped breathing. CPR was initiated, and two rounds of epinephrine and atropine were

given. Eventually Mr. Aparicio regained a pulse, but did not start breathing on his own. He was

treated with ongoing bag-valve ventilation until EMS arrived at the hospital.

        Over the next 13 days in the hospital, Mr. Aparicio went into multiple organ failure and

ultimately was determined to be terminal, and care was withdrawn and he died. Given this history,

there are a number of issues that need to be addressed in more detail. All opinions given are to a

reasonable, or higher, degree of medical or scientific certainty or probability based on the information

currently available.



                                Detailed discussion and basis of opinions


    1. Mr. Aparicio did not suffer from positional asphyxia nor did the restraint have any
       contributing component to his demise.


        There are no published studies, clinical findings in this case or previous case reports that

support that any variation of restraining a handcuffed individual with hands in back and shackling his

legs will impede one’s ability to ventilate and cause positional asphyxia. Leaving a subject on his

stomach in the prone position is considered physiologically neutral. In fact, the original work by Dr.

Donald Reay published in 1988 claiming that prone maximal restraint position was dangerous, was

refuted by work done by our group (Chan et al, 1997) and was formally acknowledged by Dr. Reay,

who modified his viewpoint stating that the prone restraint position is physiologically neutral. This is

ironic in that Dr. Spitz, the plaintiff’s expert in this case, cites only one publication in his expert report,

the study by Dr. Reay that was proven incorrect over a decade ago, to lay the foundation of his opinion

that “prone, i.e., face down position is at all times a risky method of restraint…” This opinion is

unfounded, unsupported and absolutely incorrect.

        Mr. Aparicio was breathing and talking after he had his hands cuffed. He was reported by the

medical officer to be talking during the post restraint assessment. The paramedics report that he was

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breathing and had pulse until he was loaded into the ambulance. This subject did not suffer from

positional asphyxia nor did the restraint have any contributing component to Mr. Aparicio’s demise.

       Additionally, besides the restraint not causing positional asphyxia or other significant

ventilatory impact, the restraints actually limit the physical activity of the subject, decreasing muscle

contractions of the large muscle groups in the arms and legs and thus, the ability of the body to

consume oxygen. The handcuff and leg shackle restraints will limit the overall oxygen consumption

of the subject, which, in a state of extreme excitation, can be considered essentially protective by

reducing additional production of lactic acid from continued muscle contractions and oxygen

consumption. This limitation of lactic acid production is important in subjects who already have an

extreme metabolic acidosis from extreme agitation and drug use, like Mr. Aparicio.



   2. The weight force on the back did not cause or contribute to Mr. Aparicio’s death.

       During the period that Mr. Aparicio was being shackled, he was restrained in a prone position

with a certain amount of weight force being placed on his back to get him cuffed and restrained. Mr.

Aparicio was yelling, breathing, struggling and was without any evidence of respiratory or ventilatory

difficulty during this time period. He was reported to be moving and resisting during this period and

was not noted to complain of shortness of breath or difficulty breathing.

       Mr. Aparicio was clearly alive and fighting during the period of restraint and weight force and

for some time well after he still was breathing and had a strong radial pulse as assessed by EMS

providers and did not go into cardiac arrest until after moving him into the ambulance. The cardiac

arrest was sudden. The fact that Mr. Aparicio was clearly exhibiting signs of life including breathing,

verbalizing and having a strong pulse after the weight was placed on his back eliminates the possibility

of compressive or positional asphyxia as there are no delayed sudden asphyxial deaths. The weight

force on the back did not cause or contribute to Mr. Aparicio’s death.




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    3. The use of the TASER ECD did not contribute to the death of Mr. Aparicio.

        There is a great deal of unwarranted concern of electrocution based on lay misunderstanding of

the reported 50,000 volts (V) peak open arcing voltage used by TASER handheld ECDs. TASER

handheld ECDs deliver only a fraction of the 50,000 V to the body. In the case of the TASER X26

ECD, the mean delivered pulse voltage is 580 V.

        However, it is not the voltage, but the sustained current or amperage, or delivered electrical

charge, that actually creates a risk for electrical injury. For example, the static electricity from walking

across a carpet can generate 30,000 to 100,000 V. However, the average and actual delivered electrical

current of the TASER X26 ECD is only about 1.9 milliamperes (mA) (or, 0.0019 amperes (A)) and the

peak current is only about 3 A. By way of comparison, a TASER M26™ ECD has a peak current of

about 17 A while a Christmas tree light string will have on average current of 0.4 A or 400 mA, which

is about 200 times the average (or actual) delivered current of the TASER X26 ECD.

        The stored energy in the TASER X26 ECD is about 0.36 joules (J) per pulse (J/pulse), and the

delivered energy is about 0.1 J/pulse, with the comparison of an automatic external cardiac

defibrillator (AED) used many times per day by paramedics using 360 J, over 3000 times greater than

the X26 ECD.

        If one thinks about it, this limited amount of delivered electrical energy able to be transferred

to a person makes sense as the TASER X26 ECD is only powered by a battery of two 3 V cells

(Duracell CR123s), commonly used in some small digital cameras, not an electrical outlet or power

generator. It is the TASER ECDs rapid cycling that can cause the subjects' muscles to contract at about

19 times a second that can offer the effective incapacitation of the subject in probe mode, or painful

compliance in drive-stun mode, while still offering a significant safety margin from electrical injury.

        Once the energy from an ECD is turned off, the subject is back to his physical baseline. Mr.

Aparicio initially had the TASER ECD delivered in probe mode with an estimated 4-6 inch probe

spread to the left side



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       The download data from the TASER ECD reflects that there were 3 trigger pulls for a total of

13 seconds of ECD activation. These trigger pulls do not differentiate between probe mode and drive

stun, but in this case all activations were reported to be in the probe mode. A TASER X26 ECD

trigger pull is not synonymous with electrical charge being delivered to the person. In order for an

ECD to deliver a charge to the person the electrical circuit must be completed and maintained. Thus, if

a probe misses or is dislodged and circuit is not complete, the TASER ECD download will record a

discharge, even though there was no charge delivered to the subject. And in this case, the evidence

supports that Mr. Aparicio received no significant electrical stimulus from the probe mode

deployment.

       Mr. Aparicio was reported by the officers and evidenced on the video to have signs of being

very much alive after the initial TASER ECD activations and was still struggling with officers for

quite a while after the activation. The use of the TASER ECD in probe mode did not even affect him

like a successful typical activation. However, even if there was some energy actually transmitted to

Mr. Aparicio, this did not contribute to the cardiac arrest and death of Mr. Aparicio, which occurred

well after the use of the TASER ECD.


   4. The use of the OC spray did not contribute to the death of Mr. Aparicio.

   Although the Mr. Aparicio was exposed to a round of OC spray, there are no findings that this

exposure was a contributing factor in the death. Mr. Aparicio did not even demonstrate the typical

symptoms of burning eyes and runny nose that is usually seen after exposure to OC spray. Coughing

is also a common finding with OC exposure; however this was not specifically reported nor observed.

Shortness of breath associated with allergic reactions or reactive airway exacerbations have been

reported with OC spray, similar to an allergic reaction a person would have to a cat or serious pollen

allergy. When these types of reactions occur with OC spray, they occur almost immediately after

exposure and have physical findings of wheezing and bronchospasm.




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   In this case, Mr. Aparicio was evaluated by the nursing staff after being restrained and was noted

to have regular and non-labored breathing. He was observed for a brief period and showed no signs of

significant respiratory distress. The DVD demonstrated no findings of respiratory distress or audible

wheezing. Acute anaphylactic reactions typically occur rapidly at the time of the exposure and are

obvious. This was not the case with Mr. Aparicio. The paramedic and emergency department findings

of clear breath sounds and no difficulty with the ventilations also support that there were no changes

consistent with an allergic reaction or bronchospasm as a cause of death. The OC exposure was non-

contributory to Mr. Aparicio’s death.



   5. The cause of death was cardiac arrest secondary to methamphetamine associated excited
      delirium syndrome. Cardiomegaly and a prolonged QTc interval are also contributing factors.


       So after reviewing what was non-contributory to the death of Mr. Aparicio, it is also critical to

identify why this young male suddenly died. During the time of his arrest, Mr. Aparicio was

exhibiting signs consistent with excited delirium syndrome. In his case, the excited delirium

syndrome, also known as agitated delirium, was caused by his methamphetamine use. Excited

delirium syndrome is a medical emergency most commonly caused by use of stimulant drugs like

cocaine, methamphetamine or PCP and presents typically with aggressive and often paranoid

behavior, but can also be caused by uncontrolled behavioral or psychiatric illnesses. Classically,

people suffering from excited delirium syndrome are delusional, are hyperactive, aggressive, sweating,

hyperthermic (high body temperature), may take off their clothes and become under-clothed for their

environment, may be violent, described as having superhuman strength and are often breathing fast.

       Mr. Aparicio was exhibiting many of the classic signs of excited delirium syndrome. He was

delirious, being paranoid at the hospital about people coming into his room and at the detention center

when he kept repeating questions and becoming aggressive. He was banging his head on the cage,

punching the cage, kicking the cage and then trying to bite officers. He was noted as having intense



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strength, dragging and pushing officers when they were trying to hold him. He became violent and

was not following commands.

       Excited delirium syndrome places the individual at increased risk for sudden death syndrome,

felt by most experts to be caused by an irregular heartbeat, caused by the increased stress and work on

the heart by the excited, over-stimulated, agitated physical state. Once the heart goes into an irregular

beat, blood flow through the body ceases and shortly thereafter, the subject will lose consciousness

due to lack of blood flow to the brain and then stop breathing. Often, law enforcement officers will

notice that the subject has finally quieted down, no longer yelling and struggling, thinking that he has

finally calmed down and given up the fight. Then a short time later is when someone will identify that

the subject is suddenly in cardiac arrest. In this case the change in status was promptly noted and

addressed by the EMS providers involved. His initial cardiac rhythm was not noted in the EMS

record, but was apparently a “non-shockable” rhythm; otherwise he would have received a

defibrillation attempt. A “non-shockable” rhythm, often asystole or idioventricular rhythms are

common presenting rhythms in sudden cardiac arrest due to excited delirium syndrome.

       The other component to patients who go into cardiac arrest from excited delirium syndrome is

that they are almost universally unable to be successfully resuscitated. In this case, Mr. Aparicio had

a cardiac arrest in the presence and care of EMS providers. His physiologic system had lost the ability

to auto-regulate and this cascade of physiologic failure was not going to be altered. Even patients

presenting to a comprehensive emergency department in the state that Mr. Aparicio was will typically

succumb to the excited delirium syndrome despite a full experienced medical team’s best efforts. In

this case, he could be resuscitated, but ultimately never regained consciousness and died.

       Mr. Aparicio had an enlarged heart noted on his autopsy, with his heart weighing in at 410 g.

Normal should be well under 400 g. An enlarged heart is often the result of chronic methamphetamine

use. Mr. Aparicio’s records reflect that he had chronic abuse of methamphetamine. Physical

enlargement of the heart in and of itself places an individual at increased risk for sudden cardiac arrest



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and death through irregular heart beats causing sudden death. And finally, he had a very abnormal

electrical activity in his heart. His QTc interval, one of the electrical intervals of the heart that is

evaluated by an ECG, was extremely prolonged. The QTc was 546 msec one ECG and 548 msec on a

second. The QTc should be less than 450 msec, and when prolonged, place the individual at risk for

sudden cardiac arrest at any time. Given the excited state and agitation of Mr. Aparicio, along with his

dangerously enlarged heart and then abnormal electrical activity of his heart, he was a ticking time

bomb, at risk to go into cardiac arrest whether or not police were involved.



                                                Background

        My background is that I am a full time faculty member in the department of emergency

medicine at the University of California, San Diego Medical Center. I am residency trained and board

certified in Emergency Medicine. I work full time as a practicing clinician in the Emergency

Department of a busy urban hospital. I also work for the medical center as the Director of Custody

Services for the San Diego County Sheriff’s Department Jail Medical Service where I oversee direct

patient care, interface between the jail clinical staff and the hospital staff, and have been involved in

the process of utilization review. I currently serve as the Medical Director for Risk Management for

the UC San Diego Health System. I also serve as the UCSD Medical Center’s Medical Risk

Management Committee Chair, as well as previously having served as the Chair of the Patient Care

and Peer Review Committee, both of which are charged with the task of reviewing medical records

and making determinations of standard of care. I am also the former Chief of Staff for the UCSD

Medical Center.

        As a physician working at both the jail and in the emergency department that is contracted to

care for incarcerated patients, I have evaluated thousands of patients over the last 20 years who have

been arrested, received a TASER ECD activation, been restrained, been in excited delirium syndrome,

and/or have had sudden cardiac arrests. I am knowledgeable of peer-reviewed medical and scientific



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research on TASER ECDs conducted by others. In fact, I was the lead author on work requested by

the American Academy of Emergency Medicine (AAEM) to review the totality of the peer reviewed

published medical literature on humans and come to conclusions regarding the necessary emergency

department evaluation of patients being seen after receiving an ECD activation. I have performed

extensive clinical research on human subjects who have received TASER ECD applications (articles

included in my curriculum vitae) which includes having been involved with over 200 TASER ECD

activations and have personally received multiple applications of the device.

       I was also the lead author on work requested by the American College of Emergency Medicine

(ACEP) to review the totality of the body of literature on the topic of Excited Delirium Syndrome

(ExDS) and write up the finding of the expert consensus panel’s white paper. I have also been invited

to lecture nationally and internationally on the topic of TASER ECDs and their physiological impacts

on subjects as well as on the topic of Excited Delirium Syndrome. Given my own research interests, I

regularly perform a complete review of the literature regarding restraint use, TASER ECDs, ExDS,

and sudden death in custody.

       Appendix A is a copy of my current Curriculum Vitae, which includes a list of all publications

authored by me. Appendix B is a list of all cases in which I have testified as an expert in trial or

deposition within the preceding four years. I have previously sent you my fee schedule. The

knowledge base that I utilize has been developed over time from my years of clinical practice, reading

and research, including specifically those articles that I have published myself in Appendix A. Under

penalty of perjury, I hereby swear that the opinions stated above are true and correct within a

reasonable degree of medical probability.




Respectfully submitted,




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